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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                            MARSHALL DIVISION


            SYMBOLOGY INNOVATIONS, LLC

                                     Plaintiff,
                                                                       Civil Action No. 2:23-cv-419-JRG-RSP
            v.

            VALVE CORPORATION,
            GEARBOX SOFTWARE, LLC
                         Defendant.


                        DECLARATION OF TIMOTHEE YERAMIAN IN SUPPORT
                       OF VALVE CORPORATION’S MOTION TO DISMISS UNDER
                  FEDERAL RULE OF CIVIL PROCEDURE 12(b)(3) FOR IMPROPER VENUE


                     1.      My name is Timothee Yeramian. I am over the age of twenty-one years, of sound

            mind, and competent in all respects to make this declaration.

                     2.      I make this declaration based on my own knowledge. I could and would

            competently testify to the accuracy of this declaration if called upon to testify regarding its

            contents.

                     3.      I am an artist.

                     4.      I am an employee at Valve Corporation (“Valve”).

                     5.      I have been employed by Valve since October 31, 2022.

                     6.      I live in Bellevue, Washington.

                     7.      I moved to Washington state in October 2022, shortly before I began working for

            Valve.




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                     8.      Until October 19, 2023, I had not updated my location on my LinkedIn page.

            Before then, it therefore incorrectly reflected my previous Texas residence.



            I affirm that the forgoing is true and accurate to the best of my knowledge.



                                                                         Dated November 2, 2023



                                                                         ________
                                                                         Timothee Yeramian




                                                             2
